 1   DAVID M. MICHAEL, CSBN 74031
     EDWARD M. BURCH, CSBN 255470
 2   LAW OFFICES OF MICHAEL & BURCH LLP
     One Sansome Street, Suite 3500
 3
     San Francisco, CA 94104
 4   Telephone: (415) 946-8996
     Facsimile:   (877) 538-6220
 5   E-mail:      david@michaelburchlaw.com
 6   Attorneys for Claimant ROBERT SHUMAKE
 7
                                 UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION
 9
     UNITED STATES OF AMERICA,
10
                 Plaintiff,                             CIVIL NO. 3;18 CV 646
11
     v.                                                 VERIFIED CLAIM
12                                                      OF ROBERT SHUMAKE
     $252,140.00 IN U.S. CURRENCY,                      OPPOSING FORFEITURE
13

14               Defendant.

15   ______________________________________/

16   ROBERT SHUMAKE,

17               Claimant.

18   ______________________________________/

19
             The undersigned hereby claims an ownership and possessory interest in, and the right to
20
     exercise dominion and control over, all of the defendant property.
21

22   Dated: 31 December 2018

23

24
                                                         ROBERT SHUMAKE
25                                                       Claimant
26
27
                                                                                                       1
28

          Case 3:18-cv-00646-DSC Document 8 Filed 01/09/19 Page 1 of 2
 1
                                              VERIFICATION
 2
            The undersigned declares under penalty of perjury that he is the Claimant in the above-
 3
     entitled matter, that he has read the foregoing Claim, that he knows the contents thereof, and that
 4

 5   the same is true of his own knowledge.

 6   Dated: 31 December 2018
 7
                                                          ROBERT SHUMAKE
 8                                                        Claimant
 9
10
                                   CERTIFICATION OF COUNSEL
11
            The undersigned hereby certifies that he has the signed original of this document which is
12

13   available for inspection during normal business hours by the Court or a party to this action.

14   Dated: 31 December 2018

15                                                 S/David M. Michael
                                                   DAVID M. MICHAEL
16

17                                                 Attorney for Claimant ROBERT SHUMAKE

18
19

20                           CERTIFICATE OF ELECTRONIC SERVICE

21          The undersigned hereby certifies that, on ____
                                                       9 January 2018, he caused to be
     electronically filed the foregoing with the clerk of the court by using the CM/ECF system, which
22
     will send a notice of electronic filing to all ECF-registered counsel by operation of the Court’s
23
     electronic filing system. Parties may access this filing through the Court’s system.
24

25                                                 S/David M. Michael
26                                                 DAVID M. MICHAEL

27                                                 Attorney for Claimant ROBERT SHUMAKE
                                                                                                         2
28

       Case 3:18-cv-00646-DSC Document 8 Filed 01/09/19 Page 2 of 2
